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 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                            CASE NO. 1:16-CR-00001 LJO-SKO

11                                Plaintiff,              STIPULATION AND PROTECTIVE ORDER
                                                          BETWEEN THE UNITED STATES AND
12                          v.                            DEFENDANT LORITA MARIE ROCHA

13   LORITA MARIE ROCHA,                                  COURT: Hon. Lawrence J. O'Neill

14                                Defendant.

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16          WHEREAS, the discovery in this case is voluminous and contains a large amount of personal

17 and confidential information including but not limited to dates of birth, telephone numbers, residential

18 addresses, social security numbers and tax information (“Protected Information”); and

19          WHEREAS, the parties desire to avoid both the necessity of large scale redactions and the

20 unauthorized disclosure or dissemination of this information to anyone not a party to the court

21 proceedings in this matter;

22          The parties agree that entry of a stipulated protective order is appropriate.

23          THEREFORE, Defendant LORITA MARIE ROCHA, by and through her counsel of record

24 (“Defense Counsel”), and the United States of America, by and through Assistant United States

25 Attorney Henry Z. Carbajal III, hereby agree and stipulate as follows:

26          1.     This Court may enter a protective order pursuant to Rule 16(d) of the Federal Rules of

27 Criminal Procedure, and its general supervisory authority.

28          2.     This Order pertains to all discovery provided to or made available to Defense Counsel as


      [PROPOSED] PROTECTIVE ORDER                         1
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 1 part of discovery in this case (hereafter, collectively known as “the discovery”).

 2          3.      By signing this Stipulation and Protective Order, Defense Counsel agrees not to share any

 3 documents that contain Protected Information with anyone other than Defense Counsel attorneys,

 4 designated defense investigators, and support staff. Defense Counsel may permit the Defendant to view

 5 unredacted documents in the presence of her attorney, defense investigators, and support staff. The

 6 parties agree that Defense Counsel, defense investigators, and support staff shall not allow the

 7 Defendant to copy Protected Information contained in the discovery. The parties agree that Defense

 8 Counsel, defense investigators, and support staff may provide the Defendant with copies of documents

 9 from which Protected Information has been redacted.

10          4.      The discovery and information therein may be used only in connection with the litigation

11 of this case and for no other purpose. The discovery is now and will forever remain the property of the

12 United States of America (“Government”); Defense Counsel will return the discovery to the

13 Government or certify that it has been shredded at the conclusion of the case; save and except those

14 materials which, after review and use by counsel, become work-product, and as to these materials,

15 counsel may retain the same as would ordinarily occur in the representation of a client's interests.

16 Defense counsel's duty to return any copies of the discovery governed by this order shall not apply until

17 after the appeals/appellate process (if any) associated with the defense of this action has been exhausted.

18          5.      Defense Counsel will store the discovery in a secure place and will use reasonable care to

19 ensure that it is not disclosed to third persons in violation of this agreement.

20          6.      Defense Counsel shall be responsible for advising the Defendant, employees, and other

21 members of the defense team, and defense witnesses of the contents of this Stipulation and Order.

22          7.      In the event that Defendant substitutes counsel, undersigned Defense Counsel agrees to

23 withhold discovery from new counsel unless and until substituted counsel agrees also to be bound by

24 this Order.

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      [PROPOSED] PROTECTIVE ORDER                         2
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 1        IT IS SO STIPULATED.

 2 Dated: March 16, 2016                        BENJAMIN B. WAGNER
                                                United States Attorney
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 4                                       By: /s/Henry Z. Carbajal III
                                             HENRY Z. CARBAJAL III
 5                                           Assistant United States Attorney

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 7 Dated: March 16, 2016                 By: /s/Roger S. Bonakdar
                                             ROGER S. BONAKDAR
                                             Attorney for Defendant
 8                                           LORITA MARIE ROCHA
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     IT IS SO ORDERED.
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12     Dated:   March 17, 2016                  /s/ Lawrence J. O’Neill
                                           UNITED STATES DISTRICT JUDGE
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      [PROPOSED] PROTECTIVE ORDER           3
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